Case 2:04-CV-02998-BBD-tmp Document 73 Filed 08/23/05 'Page 1 of 4 Page|D 39

IN THE UNITED sTATES DISTRICT coURTFa.ED BY ._,_ D-G.
FOR THE wEsTERN DISTRICT oF TENNESSEE

 

 

wEsTERN DIVISION 05 AUG 23 m 5; 53
CURTIS L_ BYRD' JR_, X WB{W?KhtMHE
Plaintiff, §
vs. § No. 04-2998-D/P
LESLIE I. BALLIN, et al. , §
Defendants. §

 

ORDER GR.AN'I'ING DEFENDANT NBC'S MOTION FOR SUMM.ARY JUDGMENT
ON THE STATE-LAW CLAIM

 

Plaintiff Curtis L. Byrd, Jr. commenced this action by
filing a legal malpractice complaint in the Shelby County Circuit
Court, docket number CT-005216-04, on September 13, 2004 against
defendant Leslie I. Ballin, an attorney who represented Byrd in a
federal criminal prosecution arising out of this district. §g§ Notice
of Removal, Ex. A. On or about November 15, 2004, plaintiff filed an
amended complaint that, for the first time, added the National Bank
of Commerce (“NBC”) and three individuals, Sheila Burnett, Latoria
Johnson, and Patricia Cook, as defendants. gee Notice of Removal, Ex.
B. NBC was served with the amended complaint on November 19, 2004 and
removed this action. to federal court, pursuant to 28 U.S.C. §
1446(d), on December 9, 2004.

On December 16, 2004, defendant NBC filed a notion for
summary judgment, pursuant to Fed. R. Civ. P. 56, seeking dismissal

of count 2 of the amended complaint, whi h sserted a claim purs - t

 
  
 

Th\s document entered on the docket shea
wlth Hule 58 and/or 79(a) FRCP on

Case 2:04-CV-02998-BBD-tmp Document 73 Filed 08/23/05 Page 2 of 4 Page|D 40

to the Tennessee Financial Records Privacy Act (the “State Act”),
Tenn. Code Ann. § 45-10~101 §§ §§gél NBC's motion was supported by
the affidavit of Larry McCommon, NBC's custodian of records during
the relevant time, which was sworn to on Dec. 16, 2004 (“McCommon
Aff.”), and a legal memorandum. Plaintiff filed a response to the
motion on December 20, 2004.

As plaintiff concedes, NBC plainly is entitled to summary
judgment on the State Act claim in light of Ual§§;_y¢_@hi;§, 89
S.W.2d 573 (Tenn. Ct. App. 2002).2 Although plaintiff, in his

response, purports to voluntarily dismiss the claim pursuant to Fed.

R. Civ. P. 41(a)(1)(i), that provision is inapplicable when a

 

1 Count 3 of the amended complaint asserted a claim against NBC pursuant
to the federal Right to Financial Privacy Act (the “Federal Act"), 12 U.S.C. §
3401 §§ seg. After the case was removed to federal court, plaintiff sought to
voluntarily dismiss the claim under the Federal Act in an effort to divest this
Court of jurisdiction. The validity of that attempt is addressed in a separate
order which, for reasons not necessary to recount, concludes that the Federal Act
claim remains in the case. At the time NBC filed its motion to dismiss, however,
it had reason to believe that the only claim plaintiff intended to pursue arose
under Tennessee law.

2 Although defendant also argues that disclosures made pursuant to the
grand jury subpoena are protected by Tenn. Code Ann. § 45-10-103(8). plaintiff
responds that “the disclosures pursuant to the grand jury subpoena are not the
disclosures he is challenging.” Plaintiff‘s Response to “Motion for Summary
Judgement” by NBC and Notice of Dismissal, filed Dec. 20, 2004 (“P. 12/20/04 S.J.
Br.”), at 1-2.

Case 2:04-CV-02998-BBD-tmp Document 73 Filed 08/23/05 Page 3 of 4 Page|D 41

plaintiff seeks to dismiss fewer than all the claims against a

party.3 Accordingly, the Court GRANTS NBC’s motion for summary

judgment dismissing count 2 of the amended complaint.4

IT IS SO ORDERED this ga day Of AungSt, 2005.

   
 
 

I EB B. ]JOBUXL
UNI ED STATES DISTRICT JUDGE

 

3 That matter is addressed in greater length in the order granting

plaintiff's motion to withdraw his motion to remand the case to state court.

‘ The other matters in plaintiff's response pertain to the validity of

his Federal Act claim against NBC and his intention to file another amended
complaint. Neither matter is at issue here.

3

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 73 in
case 2:04-CV-02998 Was distributed by faX, mail, or direct printing on
August 25, 2005 to the parties listed.

 

 

Richard Glassman

GLASSMAN EDWARDS WADE & WYATT, P.C.
26 N. Second Street

1\/lemphis7 TN 38103

Tim EdWards

GLASSMAN EDWARDS WADE & WYATT, P.C.
26 N. Second Street

1\/lemphis7 TN 38103

Jimmy Moore

CIRCUIT COURT, 30TH .TUDICIAL DISTRICT
140 Adams Ave.

Rm. 224

1\/lemphis7 TN 38103

Curtis L. Byrd
1395 Worthington Circle
1\/lemphis7 TN 38114

Van Davis Turner
GLANKLER BROWN
One Commerce Sq.
Ste. 1700

1\/lemphis7 TN 38103

Larry Montgomery
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/lemphis7 TN 38103

R. Scott McCullough

GLASSMAN EDWARDS WADE & WYATT, P.C.
26 N. Second Street

1\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

